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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

MWK RECRUITING, INC.

             Plaintiff,
                                           Civil Action No. 1:18-cv-00444
     v.

EVAN P. JOWERS, YULIYA
VINOKUROVA, ALEJANDRO VARGAS,
and LEGIS VENTURES (HK) COMPANY
LIMITED (aka Jowers / Vargas),

             Defendants.


EVAN P. JOWERS

             Counterclaimant,

     v.

MWK RECRUITING, INC.

             Counterdefendant.



EVAN P. JOWERS

             Third-Party Plaintiff,

     v.

ROBERT E. KINNEY, MICHELLE W.
KINNEY, RECRUITING PARTNERS GP,
INC., KINNEY RECRUITING LLC,
COUNSEL UNLIMITED LLC, KINNEY
RECRUITING LIMITED

             Third-Party Defendants.


     STIPULATION REGARDING WAIVER OF SERVICE OF SUMMONS AND
        EXTENSION OF TIME TO ANSWER THIRD-PARTY COMPLAINT




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       The parties, by and through their respective counsel of record, hereby stipulate as

follows:

       1.       On August 19, 2019, Defendant Evan P. Jowers (“Jowers”) filed his Answer,

Affirmative Defenses, Counterclaims, and Third-Party Complaint (“Third-Party Complaint,”

ECF No. 90) in response to Plaintiff MWK Recruiting Inc.’s Second Amended Complaint (ECF

No. 80), naming as third-party defendants Robert E. Kinney (“Kinney”) and Michelle W.

Kinney, individually, and Recruiting Partners GP, Inc., Kinney Recruiting LLC, Counsel

Unlimited LLC, and Kinney Recruiting Limited (“Kinney Recruiting HK,” and collectively, the

“Kinney Entities,” and together with the individual third-party defendants, the “Third-Party

Defendants”).

       2.       In order to save the expense of serving the Summons and Third-Party Complaint

in this case, each of the Third-Party Defendants has agreed to waive service of the summons in

this action and any objection based on the absence of a summons or of service. Raymond W.

Mort III hereby agrees to accept service of the Third-Party Complaint (ECF No. 90) on behalf of

each of the Third-Party Defendants as their counsel of record.

       3.       In consideration of the Third-Party Defendants’ cooperation in agreeing to waive

service of process, Jowers and the Third-Party Defendants have jointly agreed that the Third-

Party Defendants will have up to and including Friday, September 27, 2019, to file a pleading or

pleadings responsive to the Third-Party Complaint.

       IT IS SO STIPULATED.




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Dated: August 20, 2019.                  Respectfully submitted,

                                         By:       /s/ James C. Bookhout
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                                         COUNSEL FOR DEFENDANT/THIRD-
                                         PARTY PLAINTIFF EVAN P. JOWERS

                                         - and -

                                         By:       /s/ Raymond W. Mort III
                                               Raymond W. Mort III
                                               State Bar No. 00791308
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                                         COUNSEL FOR THIRD-PARTY
                                         DEFENDANTS ROBERT E. KINNEY,
                                         MICHELLE W. KINNEY, RECRUITING
                                         PARTNERS GP, INC., KINNEY RECRUITING
                                         LLC, COUNSEL UNLIMITED LLC, AND
                                         KINNEY RECRUITING LIMITED


                             CERTIFICATE OF SERVICE

      I hereby certify that, on August 20, 2019, a true and accurate copy of the foregoing
document was served via the Court’s CM/ECF facilities and via email.

                                          /s/ James C. Bookhout
                                         James C. Bookhout




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